      Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 1 of 21 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IELIOT JACKSON,                                   )
                                                  )
                      Plaintiff,                  )
                                                  )
       v.                                         )   No.          20-5886
                                                  )
CITY OF CHICAGO, CLARK EICHMAN,                   )
MICHAEL SANTOS, PETER FLEMING,                    )
CHARLIE PERSON, ORLANDO CALVO,                    )
JOHN DAL PORTE, J.W. BOISSO                       )
AND P. WILLIAMS,                                  )
                                                  )
                      Defendants.                 )

                                          COMPLAINT

       Plaintiff, Ieliot Jackson, by and through counsel, the Law Office of Jarrett Adams PLLC,

complains against Defendants, City of Chicago, Clark Eichman, Michael Santos, Peter Fleming,

Charlie Person, Orlando Calvo, John Dal Ponte, J.W. Boisso and P. Williams, as follows:

                                     INTRODUCTION

       1.      This is a federal civil rights action brought by Ieliot Jackson to obtain

compensatory damages, punitive damages, costs and attorneys’ fees for the false arrest of Mr.

Jackson by members of the City of Chicago Police Department (“CPD”) on June 24, 2009, for

the concealment of exculpatory evidence by CPD members, and for the use of evidence

fabricated by CPD members against Mr. Jackson at a criminal trial on July 14, 2010, resulting in

Mr. Jackson being held in custody in violation of his constitutional rights under the Fourth and

Fourteenth Amendments for almost seven years. This action also seeks injunctive and equitable

relief against the City of Chicago to reform the unconstitutional policies and customs that were

the moving force behind the constitutional rights violations suffered by Mr. Jackson.



                                                 1
       Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 2 of 21 PageID #:2




                                         JURISDICTION

        2.     This action is brought under 42 U.S.C. § 1983 to address the deprivation under

color of law of Mr. Jackson’s rights as secured by the United States Constitution and under state

law.

        3.     The Court has jurisdiction over Mr. Jackson’s federal claims pursuant to 28

U.S.C. §§ 1331 and 1343, and has supplemental jurisdiction over Mr. Jackson’s state law claims

pursuant to 28 U.S.C. § 1367.

        4.     Venue is proper under 28 U.S.C. § 1391(b) because the Northern District of

Illinois is the judicial district where the constitutional rights violations suffered by Mr. Jackson

occurred.

                                             PARTIES

        5.     Plaintiff, Ieliot Jackson, is a citizen of the United States of America, who at all

times relevant resided in Illinois.

        6.     Defendant, City of Chicago (“Defendant Chicago”), is a political subdivision of

the State of Illinois. At all relevant times, Defendant Chicago was the principal and employer of

the individual Defendants who acted pursuant to Defendant Chicago’s policies and customs. As

the employer of the individual Defendants, Defendant Chicago is liable for their torts under

Illinois law and the doctrine of respondeat superior.

        7.     Defendant, Clark Eichman (“Defendant Eichman”), at all relevant times, was an

adult resident of the State of Illinois, and was a CPD officer employed by Defendant Chicago. At

all relevant times, Defendant Eichman was acting under color of law, was carrying out his duties

as a CPD officer, and was acting within the scope of his employment with Defendant Chicago.




                                                  2
      Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 3 of 21 PageID #:3




       8.      Defendant, Michael Santos (“Defendant Santos”), at all relevant times, was an

adult resident of the State of Illinois, and was a CPD sergeant employed by Defendant Chicago.

At all relevant times, Defendant Santos was acting under color of law, was carrying out his

duties as a CPD sergeant, and was acting within the scope of his employment with Defendant

Chicago.

       9.      Defendant, Peter Fleming (“Defendant Fleming”), at all relevant times, was an

adult resident of the State of Illinois, and was a CPD officer employed by Defendant Chicago. At

all relevant times, Defendant Fleming was acting under color of law, was carrying out his duties

as a CPD officer, and was acting within the scope of his employment with Defendant Chicago.

       10.     Defendant, Charlie Person (“Defendant Person”), at all relevant times, was an

adult resident of the State of Illinois, and was a CPD officer employed by Defendant Chicago. At

all relevant times, Defendant Person was acting under color of law, was carrying out his duties as

a CPD officer, and was acting within the scope of his employment with Defendant Chicago.

       11.     Defendant, Orlando Calvo (“Defendant Calvo”), at all relevant times, was an

adult resident of the State of Illinois, and was a CPD officer employed by Defendant Chicago. At

all relevant times, Defendant Calvo was acting under color of law, was carrying out his duties as

a CPD officer, and was acting within the scope of his employment with Defendant Chicago.

       12.     Defendant, John Dal Ponte (“Defendant Dal Ponte”), at all relevant times, was an

adult resident of the State of Illinois, and was a CPD officer employed by Defendant Chicago. At

all relevant times, Defendant Dal Ponte was acting under color of law, was carrying out his

duties as a CPD officer, and was acting within the scope of his employment with Defendant

Chicago.




                                                3
      Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 4 of 21 PageID #:4




       13.     Defendant, J.W. Boisso (“Defendant Boisso”), at all relevant times, was an adult

resident of the State of Illinois, and was a CPD supervisor employed by Defendant Chicago. At

all relevant times, Defendant Boisso was acting under color of law, was carrying out his duties as

a CPD supervisor, and was acting within the scope of his employment with Defendant Chicago.

       14.     Defendant, P. Williams (“Defendant Williams”), at all relevant times, was an

adult resident of the State of Illinois, and was a CPD officer employed by Defendant Chicago. At

all relevant times, Defendant Williams was acting under color of law, was carrying out his duties

as a CPD officer, and was acting within the scope of his employment with Defendant Chicago.

                                            FACTS

  Facts Pertaining to the False Arrest of, the Concealment of Exculpatory Evidence from,
                    and the Use of Fabricated Evidence against Ieliot Jackson

       15.     On June 24, 2009, Defendant Calvo and Defendant Dal Ponte falsely arrested Mr.

Jackson for allegedly selling heroin to undercover CPD officers on June 4, 2009, June 11, 2009,

June 13, 2009 and June 17, 2009.

       16.     Defendant Fleming was the undercover CPD officer who allegedly purchased

heroin from Mr. Jackson on June 4, 2009, June 11, 2009 and June 17, 2009.

       17.     Defendant Eichman was the undercover CPD officer who allegedly purchased

heroin from Mr. Jackson on June 13, 2009.

       18.     Defendant Williams was involved in the arrest of Mr. Jackson on June 24, 2009.

       19.     Defendant Boisso approved the arrest of Mr. Jackson on June 24, 2009.

       20.     Mr. Jackson did not sell drugs to anyone on June 4, 2009, June 11, 2009, June 13,

2009 and June 17, 2009.

       21.     There was neither probable cause nor reasonable suspicion to believe that Mr.

Jackson sold drugs to anyone on June 4, 2009, June 11, 2009, June 13, 2009 and June 17, 2009.


                                                4
      Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 5 of 21 PageID #:5




        22.    Mr. Jackson was acquitted in a prior drug case involving CPD officers.

        23.    Mr. Jackson was acquitted in a prior case for first degree murder involving CPD

officers.

        24.    Upon information and belief, Mr. Jackson was falsely arrested on June 24, 2009

in retaliation for being acquitted in prior criminal cases involving CPD officers.

        25.    The Cook County, Illinois State’s Attorney elected to try Mr. Jackson for the

alleged June 13, 2009 heroin sale to Defendant Eichman.

        26.    The trial against Mr. Jackson for the alleged June 13, 2009 heroin sale occurred

from July 13, 2010 to July 14, 2010.

        27.    The facts pertaining to the alleged June 13, 2009 heroin sale by Mr. Jackson to

Defendant Eichman actually begin on May 30, 2009.

        28.    On May 30, 2009, while working as an undercover narcotics officer with the

CPD, Defendant Eichman met with a person on a BMX bicycle in the area near the 4800 block

of West Superior in Chicago, Illinois.

        29.    Defendant Eichman had a conversation with the person on the BMX bicycle that

consisted of the person asking for Defendant Eichman’s name and phone number.

        30.     In response, Defendant Eichman told the person on the BMX bicycle that his

name was “Ike,” and gave the person his personal cell phone number.

        31.    A short time after Defendant Eichman gave the person on the BMX bicycle his

name and personal cell phone number, and while he was in the process of driving away from the

person, Defendant Eichman’s phone rang, and he recognized the caller as the person with whom

he had just spoken.




                                                 5
      Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 6 of 21 PageID #:6




       32.     The person on the BMX bicycle told Defendant Eichman that he could call the

person if he needed “something,” which Defendant Eichman understood to mean drugs.

       33.     Defendant Eichman entered the person’s telephone number into his personal cell

phone as “BMX.”

       34.     Despite the fact that there was a method for listening into further conversations

with a potential criminal and therefore formally connecting a phone with a given individual, this

was not done at any time for the person Defendant Eichman identified as “BMX” in the two

weeks between May 30, 2009 and June 13, 2009.

       35.     Defendant Eichman also had contact with Mr. Jackson on May 30, 2009 in the

area of the 4800 block of West Superior in Chicago, Illinois, but Mr. Jackson was not riding a

BMX bicycle, and Mr. Jackson did not provide Defendant Eichman with his telephone nor did he

have a telephone conversation with Defendant Eichman.

       36.     Then on June 13, 2009, Defendant Eichman received a call on his personal cell

phone from the person he identified as “BMX” on May 30, 2009.

       37.     During the call, Defendant Eichman arranged a purchase of heroin with the

person identified as “BMX.”

       38.     The person identified as “BMX” sold heroin to Defendant Eichman on the 4800

block of West Superior on June 13, 2009.

       39.     Also present for the June 13, 2009 heroin sale between the person identified as

“BMX” and Defendant Eichman were Defendant Santos, Defendant Person, Defendant Fleming,

Defendant Williams and Defendant Calvo.




                                                6
      Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 7 of 21 PageID #:7




       40.     Defendant Person and Defendant Santos were the surveillance officers for

Defendant Eichman’s heroin purchase from the person identified as “BMX” on June 13, 2009,

but did not use any audio or video recording, and did not take any pictures.

       41.     Following the heroin purchase on June 13, 2009 from the person identified as

“BMX,” Defendant Eichman returned to the Homan Square CPD station and falsely identified

Mr. Jackson as the person who sold him heroin on June 13, 2009 from an array of five photos

which only showed the individuals’ heads and a small portion of their upper bodies.

       42.     Defendant Eichman falsely identified Mr. Jackson as the person who sold him

heroin on June 13, 2009 on the photo array by circling Mr. Jackson’s photo and writing his

initials “CWE” under Mr. Jackson’s photo.

       43.     Defendant Eichman knew that he falsely identified Mr. Jackson as the person who

sold him heroin on June 13, 2009 on the photo array when he circled Mr. Jackson’s photo and

wrote his initials “CWE” under Mr. Jackson’s photo.

       44.     The photo array where Defendant Eichman falsely identified Mr. Jackson as the

person who sold him heroin on June 13, 2009 was created by Defendant Santos.

       45.     The photo array where Defendant Eichman falsely identified Mr. Jackson as the

person who sold him heroin on June 13, 2009 showed a number of men with facial hair, but of

all the array participants, only Mr. Jackson had a distinctive beard.

       46.     Upon information and belief, Defendant Fleming falsely identified Mr. Jackson as

the person who sold him heroin on June 4, 2009, June 11, 2009 and June 17, 2009 from a photo

array in the same manner as Defendant Eichman identified Mr. Jackson as the person who sold

him heroin on June 13, 2009.




                                                 7
      Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 8 of 21 PageID #:8




       47.     The photo array where Defendant Eichman falsely identified Mr. Jackson as the

person who sold him heroin on June 13, 2009 was admitted into evidence at Mr. Jackson’s trial

on the alleged June 13, 2009 heroin purchase.

       48.     Defendant Eichman testified at Mr. Jackson’s trial for the alleged June 13, 2009

heroin purchase that he identified the person on June 13, 2009 as the same person he identified as

“BMX” on May 30, 2009 because of the person’s beard, and not from the person’s age, height,

weight, skin tone, haircut or any other distinguishing characteristics.

       49.     At trial of Mr. Jackson for the alleged June 13, 2009 heroin purchase, Defendant

Person falsely identified Mr. Jackson as the person who sold heroin to Defendant Eichman.

       50.     Neither Defendant Eichman’s personal cell phone nor Mr. Jackson’s cell phone

were admitted into evidence at Mr. Jackson’s trial on the alleged June 13, 2009 heroin purchase.

       51.     No DNA, fingerprints, phone records, voice recognition or any other independent

evidence were admitted into evidence at Mr. Jackson’s trial on the alleged June 13, 2009 heroin

purchase.

       52.     On May 30, 2009, Isaac Williams had a beard, rode a BMX bicycle, and spoke to

Defendant Eichman in the area of the 4800 block of West Superior.

       53.     On May 30, 2009, Mr. Williams asked Defendant Eichman for his name and

telephone number.

       54.     On May 30, 2009, Defendant Eichman told Mr. Williams that his name was

“Ike,” and gave Mr. Williams his personal cell phone number.

       55.     On May 30, 2009, Mr. Williams called Defendant Eichman and told him to call if

he needed “anything,” by which Mr. Williams meant drugs.




                                                  8
     Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 9 of 21 PageID #:9




       56.    On June 13, 2009, Mr. Williams called Defendant Eichman on his personal cell

phone and arranged a heroin purchase in the 4800 block of West Superior.

       57.    On June 13, 2009, Mr. Williams sold heroin to Defendant Eichman in the 4800

block of West Superior.

       58.    Mr. Williams does not look like Mr. Jackson, is ten years older, is six inches

shorter and in May and June of 2009 was 50 pounds lighter than Mr. Jackson.

       59.    In May and June 2009, both Mr. Williams and Mr. Jackson had distinctive

Egyptian-style goatee beards.

       60.    Neither Defendant Eichman nor Defendant Person was shown a photo array

involving Mr. Williams.

       61.    On July 14, 2010, Mr. Jackson was convicted of Delivery of a Controlled

Substance within 1,000 Feet of Real Property Compromising a School contrary to 720 ILCS

570/407(b)(2) for the alleged heroin sale to Defendant Eichman on June 13, 2009.

       62.    Mr. Jackson was sentenced to 13 years in prison.

       63.    Mr. Jackson remained in custody from the date of his arrest on June 24, 2009 until

he was released on parole on March 16, 2016.

       64.    Mr. Jackson did not sell heroin to Defendant Eichman on June 13, 2009 in the

4800 block of West Superior.

       65.    Mr. Williams in fact sold heroin to Defendant Eichman on June 13, 2009 in the

4800 block of West Superior.

       66.    A contact card, which was approved by Defendant Santos, was created for

Defendant Eichman’s contact with Mr. Williams on May 30, 2009.




                                               9
    Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 10 of 21 PageID #:10




       67.     The contact card for Defendant Eichman’s contact with Mr. Williams on May 30,

2009 noted that Mr. Williams was “on bike.”

       68.     Upon information and belief, the individual Defendants knowingly concealed

from the Cook County, Illinois State’s Attorney the exculpatory evidence that Mr. Williams sold

heroin to Defendant Eichman on June 13, 2009 in the 4800 block of West Superior.

       69.     The exculpatory evidence that Mr. Williams sold heroin to Defendant Eichman on

June 13, 2009 in the 4800 block of West Superior was not available to Mr. Jackson, through the

exercise of reasonable diligence, to make use of at his criminal trial for the alleged June 13, 2009

heroin sale to Defendant Eichman.

       70.     On September 20, 2018, following an appeal process, Mr. Jackson’s conviction

for the alleged June 13, 2009 heroin sale to Defendant Eichman was overturned and his motion

for a new trial was granted.

       71.     On October 18, 2018, the Cook County, Illinois State’s Attorney gave formal

notice that it would not prosecute Mr. Jackson for the alleged June 13, 2009 heroin sale to

Defendant Eichman, and the case against Mr. Jackson was dismissed.

       72.     The conduct of Defendant Eichman, Defendant Santos, Defendant Fleming,

Defendant Person, Defendant Calvo, Defendant Dal Ponte, Defendant Boisso and Defendant

Williams, as set forth in the preceding paragraphs, resulted in damages and injuries to Mr.

Jackson, including but not limited to loss of liberty, physical injury and sickness, and emotional

pain and suffering.

       73.     The conduct of Defendant Eichman, Defendant Santos, Defendant Fleming,

Defendant Person, Defendant Calvo, Defendant Dal Ponte, Defendant Boisso and Defendant




                                                 10
    Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 11 of 21 PageID #:11




Williams, as set forth in the preceding paragraphs, was the proximate cause of Mr. Jackson’s

damages and injuries.

       74.     The conduct of Defendant Eichman, Defendant Santos, Defendant Fleming,

Defendant Person, Defendant Calvo, Defendant Dal Ponte, Defendant Boisso and Defendant

Williams, as set forth in the preceding paragraphs, was objectively unreasonable, intentional,

purposeful and/or knowing, and was undertaken with malice and/or reckless disregard of Mr.

Jackson’s constitutional rights.

      Facts Pertaining to Defendant Chicago’s Unconstitutional Policies and Customs

 Facts Pertaining to Defendant Chicago’s Policies and Customs of Failing to Train, Supervise
                                and Discipline CPD Officers

       75.     Defendant Chicago’s policies and customs were the moving force behind the

misconduct set forth above by CPD members by failing to adequately train, supervise,

investigate, punish and discipline prior instances of similar misconduct by CPD officers, thereby

leading CPD officers to believe their actions will never be scrutinized and, in that way, directly

encouraging future constitutional violations such as those suffered by Mr. Jackson.

       76.     Defendant Chicago’s policymakers have long been aware of the policies and

customs of failing to train, supervise, investigate and discipline misconduct by CPD officers, but

have failed to take actions to remedy the problems.

       77.     In June 2000, the Chairman of the Committee on Police and Fire of the Chicago

City Council submitted an official resolution recognizing that “[Chicago] police officers who do

not carry out their responsibilities in a professional manner have ample reason to believe that

they will not be held accountable, even in instances of egregious misconduct.”

       78.     In 2001, the Justice Coalition of Greater Chicago (“JCGC”), a coalition of more

than a hundred community groups, confirmed the findings of that resolution, concluding that the


                                                 11
    Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 12 of 21 PageID #:12




CPD lacked many of the basic tools necessary to identify, monitor, punish and prevent police

misconduct. The JCGC findings were presented to Chicago Mayor Daley, CPD Superintendent

Hillard, and the Chicago Police Board.

       79.     Despite Defendant Chicago’s policymakers’ knowledge of the policies and

customs of failing to adequately investigate, discipline, and control CPD officers, nothing was

done to remedy these problems.

       80.     As a result, the CPD has continued to respond to complaints of police misconduct

inadequately and with undue delay, and to recommend discipline in a disproportionately small

number of cases.

       81.     Over 99% of the time when a citizen complains that his or her civil rights were

violated by CPD officers, Defendant Chicago sides with the officer and concludes that no

violation occurred.

       82.     For example, in 2005, at least 1,592 complaints of civil rights violations were

lodged against CPD officers with the CPD’s Internal Affairs Division. A total of 5 were

sustained, and that total may include cases arising in previous years.

       83.     In 2006, the number of civil rights complaints against CPD officers was 1,492,

and only 12 were sustained.

       84.     From 2011 to 2012, less than four percent of complaints against CPD officers

were sustained.

       85.     Defendant Chicago’s investigation of citizen complaints against CPD officers is

inadequate and is characterized by unreasonably long delays, despite the relative straight-forward

nature of many misconduct claims.




                                                12
     Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 13 of 21 PageID #:13




         86.   Defendant Chicago also has failed to modify its CPD officer training programs to

reduce misconduct or to implement a system to identify and track repeat offenders, districts, or

units.

         87.   In the case of Obryka v. City of Chicago et al., No. 07-CV-2372 (N.D. Ill.) (the

Abbate case), a jury found that as of February 2007 “the City [of Chicago] had a widespread

custom and/or practice of failing to investigate and/or discipline its officers and/or code of

silence.”

         88.   In December 2015, Defendant Chicago Mayor Rahm Emanuel acknowledged that

a code of silence exists within the CPD that encourages cover-ups of police misconduct, and that

Defendant Chicago’s attempts to deal with police abuse and corruption have never been

adequate.

         89.   In 2017, the United States Department of Justice Civil Rights Division and the

United States Attorney’s Office for the Northern District of Illinois issued a Report titled

“Investigating the Chicago Police Department” (“the DOJ Report”). The DOJ Report is

incorporated herein by reference, including but not limited to the following subsequent

paragraphs.

         90.   The DOJ Report found that Defendant Chicago has deficient accountability

systems which contribute to the pattern or practice of CPD officer misconduct.

         91.   The DOJ Report found that Defendant Chicago fails to adequately train

investigators to investigate CPD officer misconduct.

         92.   The DOJ Report found that a code of silence exists within the CPD, where CPD

officers do not report the misconduct of fellow officers and/or lie about the misconduct of fellow

officers.



                                                 13
       Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 14 of 21 PageID #:14




         93.    The DOJ Report found that Defendant Chicago’s system for discipline of CPD

officers for misconduct lacks integrity and does not deter misconduct.

         94.    The DOJ Report found that the CPD does not provide its officers with adequate

training and supervision to ensure lawful policing.

         95.    The DOJ Report noted that Defendant Chicago acknowledged problems in the

training of CPD officers.

         96.    The DOJ Report found that the CPD does not provide supervisors with the

incentive or opportunity to guide and direct its officers, or to hold its officers accountable for

misconduct.

         97.    The DOJ Report found that the CPD does not adequately train its supervisors to

provide meaningful supervision.

         98.    The DOJ Report found that CPD supervisors are not held accountable for failing

to report CPD officer misconduct.

         99.    Upon information and belief, Defendant Chicago’s policies and customs of failing

to provide adequate training, supervision and discipline to CPD officers continue to this day.

         100.   Upon information and belief, the code of silence within the CPD continues to this

day.

  Facts Pertaining to Defendant Chicago’s Policies and Customs of Condoning CPD Officers
         Concealing Exculpatory Evidence and Fabricating Evidence in Drug Cases

         101.   The misconduct set forth above by the individual Defendant CPD members was

undertaken pursuant to the policies and customs of Defendant Chicago of pursuing convictions

in reckless disregard of the truth by condoning CPD officers concealing exculpatory evidence

and fabricating evidence in drug cases.




                                                  14
    Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 15 of 21 PageID #:15




       102.    In 2019, numerous Plaintiffs brought federal civil rights actions against Defendant

Chicago, former CPD Sergeant Ronald Watts and several other CPD members for concealing

and fabricating evidence in drug cases (“the Watts actions”). The allegations of the Watts actions

are incorporated herein by reference, including but not limited to the following subsequent

paragraphs.

       103.    Defendant Chicago knew that CPD officers engaged in a pattern of concealing

and fabricating evidence in drug cases, which was facilitated by the CPD’s code of silence.

       104.    Defendant Chicago took no action to prevent CPD officers from engaging in a

pattern of concealing and fabricating evidence in drug cases.

       105.    Defendant Chicago has been aware since at least 1999 about its policies of failing

to adequately train, supervise and discipline CPD officers for misconduct, but has failed to fix

the problem.

       106.    In 2020, Micaela Cruz brought a federal civil rights action against Defendant

Chicago and several CPD members alleging a long-standing pattern of CPD officers fabricating

evidence, concealing exculpatory evidence and conducting false arrests (“the Cruz Action”). The

allegations of the Cruz action are incorporated herein by reference, including but not limited to

the following subsequent paragraphs.

       107.    In 2016, the President of the CPD officers’ union admitted that there was a code

of silence within the CPD.

       108.    Since 1986, there have been more than 100 cases where CPD officers fabricated

evidence and/or concealed exculpatory evidence to cause the false arrest and subsequent

convictions of innocent individuals.




                                                15
    Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 16 of 21 PageID #:16




       109.    Defendant Chicago and its policymakers had actual knowledge of the long-

standing pattern of CPD officers fabricating evidence, concealing exculpatory evidence and

conducting false arrests, yet took no action to remedy the problems.

       110.    Defendant Chicago and its policymakers approved the policies and customs of

condoning CPD officers concealing exculpatory evidence and fabricating evidence, and were

deliberately indifferent to the resulting constitutional violations.

       111.    Upon information and belief, Defendant Chicago’s policies and customs of

condoning CPD officers concealing exculpatory evidence and fabricating evidence continue to

this day.

                                      CAUSES OF ACTION

    COUNT I: 42 U.S.C. § 1983 – False Arrest Against Defendant Eichman, Defendant
Fleming, Defendant Calvo, Defendant Dal Ponte, Defendant Williams and Defendant Boisso

       112.    Mr. Jackson hereby re-alleges and incorporates by reference each of the preceding

paragraphs as if fully restated herein.

       113.    The above-named individual Defendants arrested Mr. Jackson on June 24, 2009.

       114.    The above-named individual Defendants did not have probable cause to arrest Mr.

Jackson.

       115.    The above-named individual Defendants acted under of color of law.

       116.    The false arrest of Mr. Jackson by the above-named individual Defendants resulted

in damages and injuries to Mr. Jackson.

       117.    The false arrest of Mr. Jackson was undertaken pursuant to the policies and

customs of Defendant Chicago and its policymakers, as set forth above.




                                                  16
     Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 17 of 21 PageID #:17




    COUNT II: 42 U.S.C. § 1983 – Due Process/Fair Trial: Concealment of Exculpatory
                           Evidence/Fabrication of Evidence
   Against Defendant Eichman, Defendant Santos, Defendant Fleming, Defendant Person,
     Defendant Calvo, Defendant Dal Ponte, Defendant Boisso and Defendant Williams

        118.    Mr. Jackson hereby re-alleges and incorporates by reference each of the preceding

paragraphs as if fully restated herein.

        119.    Defendant Eichmann and Defendant Santos knowingly fabricated evidence that

was used against Mr. Jackson at his criminal trial.

        120.    The evidence fabricated by Defendant Eichman and Defendant Santos was

material.

        121.    Upon information and belief, the above-named individual Defendants knowingly

concealed exculpatory evidence from the Cook County, Illinois State’s Attorney.

        122.    The evidence concealed by the above-named individual Defendants was not

otherwise available to Mr. Jackson, through the exercise of reasonable diligence, to make use of at

his criminal trial.

        123.    The evidence concealed by the above-named individual Defendants was material.

        124.    The above-named individual Defendants acted under color of law.

        125.    The fabrication of evidence by Defendant Eichman and Defendant Santos, and the

concealment of exculpatory evidence by the above-named individual Defendants, resulted in

damages and injuries to Mr. Jackson.

        126.    The fabrication of evidence and the concealment of exculpatory evidence against

Mr. Jackson were undertaken pursuant to the policies and customs of Defendant Chicago and its

policymakers, as set forth above.




                                                17
    Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 18 of 21 PageID #:18




                      COUNT III: 42 U.S.C. § 1983 – Conspiracy
  Against Defendant Eichman, Defendant Santos, Defendant Fleming, Defendant Person,
    Defendant Calvo, Defendant Dal Ponte, Defendant Boisso and Defendant Williams

         127.   Mr. Jackson hereby re-alleges and incorporates by reference each of the preceding

paragraphs as if fully restated herein.

         128.   The above-named individual Defendants had an express or implied agreement to

deprive Mr. Jackson of his constitutional rights.

         129.   In furtherance of this agreement, Mr. Jackson was falsely arrested, exculpatory

evidence was concealed from the Cook County, Illinois State’s Attorney, and fabricated evidence

was used against Mr. Jackson at his criminal trial.

         130.   The above-named individual Defendants acted under color of law.

         131.   The conspiracy to deprive Mr. Jackson of his constitutional rights resulted in

damages and injuries to Mr. Jackson.

         132.   The conspiracy to deprive Mr. Jackson of his constitutional rights was undertaken

pursuant to the policies and customs of Defendant Chicago and its policymakers, as set forth

above.

                  COUNT IV: 42 U.S.C. § 1983 – Failure to Intervene
  Against Defendant Eichman, Defendant Santos, Defendant Fleming, Defendant Person,
    Defendant Calvo, Defendant Dal Ponte, Defendant Boisso and Defendant Williams

         133.   Mr. Jackson hereby re-alleges and incorporates by reference each of the preceding

paragraphs as if fully restated herein.

         134.   As set forth above, the above-named individual Defendants falsely arrested Mr.

Jackson, concealed exculpatory evidence from the Cook County, Illinois State’s Attorney, and

fabricated evidence that was used against Mr. Jackson at his criminal trial.




                                                 18
     Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 19 of 21 PageID #:19




        135.    Each above-named individual Defendant knew that Mr. Jackson was about to be

falsely arrested, that exculpatory evidence was about to be concealed from the Cook County,

Illinois State’s Attorney, and that fabricated evidence was about to be used against Mr. Jackson at

his criminal trial.

        136.    Each above-named individual Defendant had a realistic opportunity to prevent

harm from occurring.

        137.    Each above-named individual Defendant failed to take reasonable steps to prevent

harm from occurring.

        138.    Each above-named individual Defendant acted under color of law.

        139.    Each above-named individual Defendant’s failure to act caused Mr. Jackson to

suffer harm.

        140.    The failure to intervene to prevent the constitutional violations suffered by Mr.

Jackson was undertaken pursuant to the policies and customs of Defendant Chicago and its

policymakers, as set forth above.

           COUNT V: 42 U.S.C. § 1983 – Failure to Train, Supervise and Discipline
                              Against Defendant Chicago

        141.    Mr. Jackson hereby re-alleges and incorporates by reference each of the preceding

paragraphs as if fully restated herein.

        142.    Defendant Chicago’s training program was not adequate to train CPD supervisors

and officers to properly handle recurring situations.

        143.    Defendant Chicago failed to adequately supervise and discipline CPD officers.

        144.    Defendant Chicago’s policymakers knew that it was highly predictable that

exculpatory evidence would be concealed, evidence would be fabricated, and false arrests would

occur without more or different training and/or without adequate supervision and discipline of


                                                 19
     Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 20 of 21 PageID #:20




CPD officers, because there was a pattern of similar constitutional violations and because it was

highly predictable even without a pattern of similar constitutional violations.

        145.      Defendant Chicago’s failure to provide adequate training, supervision and

discipline of CPD supervisors and officers caused the violations of Mr. Jackson’s constitutional

rights set forth above.

  COUNT VI: 42 U.S.C. § 1983 – Policy and/or Custom of Condoning the Concealment of
               Exculpatory Evidence and the Fabrication of Evidence
                             Against Defendant Chicago

        146.      Mr. Jackson hereby re-alleges and incorporates by reference each of the preceding

paragraphs as if fully restated herein.

        147.      As set forth above, Mr. Jackson was falsely arrested, exculpatory evidence was

concealed from the Cook County, Illinois State’s Attorney, and fabricated evidence was used

against Mr. Jackson at his criminal trial.

        148.      At all relevant times, Defendant Chicago had a policy and/or custom of condoning

the concealment of exculpatory evidence and the fabrication of evidence by CPD officers.

        149.      Defendant Chicago’s policy and custom described in the preceding paragraph

caused the false arrest of Mr. Jackson, the concealment of exculpatory evidence from the Cook

County, Illinois State’s Attorney, and the use of fabricated evidence against Mr. Jackson at his

criminal trial.

                       COUNT VII: Illinois State Law – Resondeat Superior
                                 Against Defendant Chicago

        150.      Mr. Jackson hereby re-alleges and incorporates by reference each of the preceding

paragraphs as if fully restated herein.




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    Case: 1:20-cv-05886 Document #: 1 Filed: 10/02/20 Page 21 of 21 PageID #:21




       151.    In committing the acts and omissions set forth above, the individual Defendant

CPD members were employees and agents of Defendant Chicago, acting at all relevant times

within the scope of their employment with Defendant Chicago.

       152.    Defendant Chicago is liable as principal for all torts committed by its agents.

                      COUNT VIII: Illinois State Law – Indemnification
                              Against Defendant Chicago

       153.    Mr. Jackson hereby re-alleges and incorporates by reference each of the preceding

paragraphs as if fully restated herein.

       154.    Illinois law requires public entities to pay any tort judgment for compensatory

damages against employees while acting within the scope of their employment.

       155.    The individual Defendant CPD members were employees of Defendant Chicago,

acting at all relevant times within the scope of their employment.

       Wherefore the Plaintiff, Ieliot Jackson, respectfully requests that the Court enter judgment

in his favor and against Defendants, City of Chicago, Clark Eichman, Michael Santos, Peter

Fleming, Charlie Person, Orlando Calvo, John Dal Ponte, J.W. Boisso and P. Williams, awarding

compensatory damages, costs, and attorneys’ fees against each Defendant, along with punitive

damages against each of the individual Defendants, injunctive and equitable relief against

Defendant, City of Chicago, as well as any other relief the Court deems appropriate.

PLAINTIFF DEMANDS TRIAL BY JURY.

                                             Respectfully Submitted,
                                             IELIOT JACKSON



                                             ___________________
                                             By: Jarrett Adams, Esq.
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                                               21
